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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS



KATELYN HANKS,                                )
                                              )
                        Plaintiff,            )
                                              )       CIVIL ACTION
vs.                                           )
                                              )       FILE No.
126 PLANO CENTER, LTD.,                       )
                                              )
                        Defendant.            )

                                          COMPLAINT

       COMES NOW, KATELYN HANKS, by and through the undersigned counsel, and files

this, her Complaint against Defendant, 126 PLANO CENTER, LTD., pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

126 PLANO CENTER, LTD., failure to remove physical barriers to access and violations of

Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, KATELYN HANKS (hereinafter “Plaintiff”), is and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Dallas County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Her motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.       Defendant, 126 PLANO CENTER, LTD. (hereinafter “126 PLANO CENTER,

LTD.”) is a Texas limited company that transacts business in the State of Texas and within this

judicial district.

        8.       Defendant, 126 PLANO CENTER, LTD., may be properly served with process

via its registered agent for service, to wit: c/o David Mottahedeh, Registered Agent, 4230 LBJ

Frwy., #105, c/o Kelly Commercial, Dallas, TX 75244.

        9.       On September 12, 2020, Plaintiff was a customer at “Subway,” a business located

at 1409 Shiloh Road, Plano, TX 75074, referenced herein as “Subway”. See Receipt attached as

Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

        10.      Defendant, 126 PLANO CENTER, LTD., is the owner or co-owner of the real

property and improvements that Subway is situated upon and that is the subject of this action,

referenced herein as the “Property.”



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       11.     Defendant, 126 PLANO CENTER, LTD., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, 126 PLANO CENTER, LTD., and a tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s requirement to

comply with the ADA for the entire Property it owns, including the interior portions of the

Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the restaurant located at 1409 Shiloh Road, Plano, TX 75074,

Collin County Property Appraiser’s property identification number 1707763 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of her

disabilities, and she will be denied and/or limited in the future unless and until Defendant is

compelled to remove the physical barriers to access and correct the ADA violations that exist at

the Property, including those set forth in this Complaint.

       13.     Plaintiff lives 10 miles from the Property.

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes, but does not intend to re-expose himself to

the ongoing barriers to access and engage in a futile gesture of visiting the public



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accommodation known to Plaintiff to have numerous and continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.


                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in


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               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.


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       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       28.     Defendant, 126 PLANO CENTER, LTD., has discriminated against Plaintiff (and

others with disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, 126 PLANO CENTER, LTD., will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, 126 PLANO CENTER, LTD., is

compelled to remove all physical barriers that exist at the Property, including those specifically



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set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     Near Unit 200, the walking surfaces of the accessible route have a slope in excess

                of 1:20 in violation of Section 403.3 of the 2010 ADAAG standards. This

                violation would make it dangerous and difficult for Plaintiff to access the units of

                the Property.

        (ii)    Near Unit 200, as the accessible route is in excess of 1:20, it is considered an

                accessible ramp, moreover, it has a total rise greater than six (6) inches, yet does

                not have handrails in compliance with Section 505 of the 2010 ADAAG

                standards, this is a violation of Section 405.8 of the 2010 ADAAG Standards.

                This violation would make it difficult for Plaintiff to access the units of the

                Property.

        (iii)   Near Pizza Hut, the access aisle to the accessible parking space is not level due to

                the presence of an accessible ramp in the access aisle in violation of Section 502.4

                of the 2010 ADAAG standards. This violation would make it dangerous and

                difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

        (iv)    Near Pizza Hut, the accessible curb ramp is improperly protruding into the access

                aisle of the accessible parking space in violation of Section 406.5 of the 2010



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            ADAAG Standards. This violation would make it difficult and dangerous for

            Plaintiff to exit/enter their vehicle.

   (v)      Near Pizza Hut, the accessible parking space is not level due to the presence of an

            accessible ramp in the accessible parking space in violation of Section 502.4 and

            406.5 of the 2010 ADAAG standards. This violation would make it dangerous

            and difficult for Plaintiff to exit and enter their vehicle while parked at the

            Property.

   (vi)     Near Pizza Hut, due to a failure to enact an adequate policy of maintenance, the

            sign identifying the accessible parking space as accessible is not visible due to

            fading, this is a violation of section 502.6 of the 2010 ADAAG Standards. This

            violation would make it difficult for Plaintiff to locate an accessible parking

            space.

   (vii)    For both accessible entrances into the Subway, there is a doorway threshold with

            a vertical rise in excess of ½ (one half) inch and does not contain a bevel with a

            maximum slope of 1:2 in violation of Section 404.2.5 of the 2010 ADAAG

            standards.

   (viii)   Due to the violation of section 404.2.5 of the 2010 ADAAG Standards at both

            entrances to the Subway, not all entrance doors and doorways comply with

            section 404 of the 2010 ADAAG standards, this is a violation of Section 206.4 of

            the 2010 ADAAG standards. This violation would make it dangerous and difficult

            for Plaintiff to access the interior of the Property.

   (ix)     Near Subway, the access aisle to the accessible parking space is not level due to

            the presence of an accessible ramp in the access aisle in violation of Section 502.4



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           of the 2010 ADAAG standards. This violation would make it dangerous and

           difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

   (x)     Near Subway, the accessible curb ramp is improperly protruding into the access

           aisle of the accessible parking space in violation of Section 406.5 of the 2010

           ADAAG Standards. This violation would make it difficult and dangerous for

           Plaintiff to exit/enter their vehicle.

   (xi)    Near Subway, the accessible parking space is not level due to the presence of

           accessible ramp side flares in the accessible parking space in violation of Sections

           502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it

           dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

           the Property.

   (xii)   Near Subway, the Property has an accessible ramp leading from the accessible

           parking space to the accessible entrances with a slope exceeding 1:12 in violation

           of Section 405.2 of the 2010 ADAAG standards. This violation would make it

           dangerous and difficult for Plaintiff to access the units of the Property.

    (xiii) In front of Unit 260, due to a policy of not having parking stops for the parking

           spaces directly in front of the exterior access route in conjunction with the

           presence of a column close to the parking lot, cars routinely pull up all the way to

           the curb and the "nose" of the vehicle extends into the access route and accessible

           ramp causing the exterior access route and accessible ramp to routinely have clear

           widths below the minimum thirty-six (36") inch requirement specified by

           Sections 403.5.1 and 405.5 of the 2010 ADAAG Standards. This violation would




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            make it dangerous and difficult for Plaintiff to access multiple public

            accommodations on the Property.

     (xiv) In front of Unit 260, due to a policy of not having parking stops for the parking

            spaces directly in front of the exterior access route in conjunction with the

            presence of a column close to the parking lot, cars routinely pull up all the way to

            the curb and the "nose" of the vehicle extends into the access route and accessible

            ramp, as a result, in violation of section 502.7 of the 2010 ADAAG Standards,

            parking spaces are not properly designed so that parked cars and vans cannot

            obstruct the required clear width of adjacent accessible routes. This violation

            would make it dangerous and difficult for Plaintiff to access multiple public

            accommodations on the Property.

    (xv)    Due to the policy decisions detailed in (xiii) and (xiv) above, the Property lacks

            an accessible route connecting accessible facilities, accessible elements and/or

            accessible spaces of the Property in violation of section 206.2.2 of the 2010

            ADAAG standards. This violation would make it difficult for Plaintiff to access

            public features of the Property.

    (xvi)   The Property lacks an accessible route from the public sidewalk to the accessible

            entrances in violation of Section 206.2.1 of the 2010 ADAAG standards. This

            violation would make it difficult for Plaintiff to access the units of the Property.

    (xvii) The total number of accessible parking spaces is inadequate and is in violation of

            section 208.2 of the 2010 ADAAG standards. There are a total of 167 parking

            spaces on the Property requiring a minimum of six (6) accessible parking spaces,




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               however, there are only four (4) accessible parking spaces. This violation would

               make it difficult for Plaintiff to locate an accessible parking space.

       (xviii) Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, 126

PLANO CENTER, LTD., has the financial resources to make the necessary modifications since

the Property is valued at $3,734,811.00 according to the Property Appraiser website.

       37.     The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility



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modifications.

         38.     Upon information and good faith belief, the Property have been altered since

2010.

         39.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

         40.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until

Defendant, 126 PLANO CENTER, LTD.., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

         41.     Plaintiff’s requested relief serves the public interest.

         42.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, 126 PLANO CENTER, LTD.

         43.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, 126 PLANO CENTER, LTD., pursuant to 42 U.S.C. §§ 12188 and

12205.

         44.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, 126 PLANO

CENTER, LTD., to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)     That the Court find Defendant, 126 PLANO CENTER, LTD., in violation of the

                 ADA and ADAAG;

         (b)     That the Court issue a permanent injunction enjoining Defendant, 126 PLANO



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          CENTER, LTD., from continuing their discriminatory practices;

    (c)   That the Court issue an Order requiring Defendant, 126 PLANO CENTER, LTD.,

          to (i) remove the physical barriers to access and (ii) alter the subject Property to

          make it readily accessible to and useable by individuals with disabilities to the

          extent required by the ADA;

    (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

          and costs; and

    (e)   That the Court grant such further relief as deemed just and equitable in light of the

          circumstances.

                                        Dated: October 6, 2020.

                                        Respectfully submitted,

                                        Law Offices of
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